                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                           CRIMINAL DOCKET NO.: 4:94CR44

WAYNE HORACE JOHNSON (5),           )
                                    )
            Petitioner              )
                                    )
            vs.                     )
                                    )                       ORDER
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
___________________________________ )

       THIS MATTER is before the Court on “Petitioner’s Request for Joinder of Petitioner’s

Co-Defendant Pending Blakely and Booker/Fanfan Like Claims Pursuant to Federal Rules of

Procedure Rule 8(b), and Other Stated Factors Set-Forth,” filed April 13, 2005.

       On May 3, 1994, Petitioner Wayne Horace Johnson (“Petitioner”) was indicted for

conspiracy to possess with intent to distribute more than 500 grams of powder cocaine and more

than 50 grams of cocaine base, in violation of Title 21 United States Code Sections 841 and 846.

On January 13, 1995, a jury returned a verdict of guilty against Petitioner. This Court, on March

26, 1996, sentenced Petitioner to 235 months imprisonment. Subsequently, on April 1, 1996,

Petitioner filed Notice of Appeal. On February 17, 1999, the Fourth Circuit affirmed the

judgment of this Court. Subsequently, on September 18, 2000, Petitioner filed Motion to Vacate

pursuant to Section 2255, which this Court dismissed on September 20, 2001. On November 5,

2001, Petitioner appealed the Court’s denial of his Section 2255 Motion to the Fourth Circuit.

The Fourth Circuit dismissed Petitioner’s appeal on March 4, 2002, and judgment was entered on

April 25, 2002.


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        Petitioner now seeks to be joined to his co-defendant, Everett Dione McGrady (4), for

purposes of Mr. McGrady’s motion pursuant to Blakely and Booker. Mr. McGrady filed a

Supplemental Motion to Reduce Sentence pursuant to Blakely and Booker on July 9, 2004. This

Court dismissed Mr. McGrady’s Motion to Reduce in an Order dated August 16, 2004. Mr.

McGrady filed a “Notice of Mandamus” on January 28, 2005.

        To the extent that Petitioner here seeks to join with Mr. McGrady’s Motion to Reduce

Sentence, which was filed on July 9, 2004, the Court has already ruled on that Motion and, thus,

Petitioner’s Motion for Joinder is moot.

        If, however, Petitioner is seeking to join with Mr. McGrady’s “Notice of Mandamus,” his

motion is denied. Rule 8 of the Federal Rules of Criminal Procedure “contemplates the joinder

of offenses and defendants in cases where the defendants are charged in a single common scheme

or plan.” United States v. Smith, 44 F.3d 1259, 1266 (4th Cir. 1995). Specifically, the government

may join defendants if the defendants “are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions, constituting an offense or offenses. . . .

All defendants need not be changed in each count.” FED . R. CRIM P. 8(b). Notably, joinder is

used to join offenses and/or defendants for the prosecution of claims, not for joinder of post-trial

motions, as Petitioner seeks to do here.

        If Petitioner desires to file a similar motion as filed by Mr. McGrady, he may do so on his

own behalf. Petitioner is advised, however, that since he previously filed a Section 2255 Motion,

which this Court dismissed, filing a motion pursuant to Booker and Blakely may be construed as

a successive Section 2255 Motion. A defendant may not file a second or successive motion

under § 2255 unless a panel of the appropriate court of appeals has certified that the new motion


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will contain: (1) newly discovered evidence that, if proven and viewed in light of the evidence as

a whole, would be sufficient to establish by clear and convincing evidence that no reasonable

fact-finder would have found the movant guilty of the offense; or (2) a new rule of constitutional

law that was previously unavailable and that the Supreme Court has made retroactive to cases on

collateral review. 28 U.S.C. §§ 2244, 2255; see also Rules Governing § 2255 Proceedings, Rule

4(b), 9(b).

        IT IS, THEREFORE, ORDERED that “Petitioner’s Request for Joinder of Petitioner’s

Co-Defendant Pending Blakely and Booker/Fanfan Like Claims Pursuant to Federal Rules of

Procedure Rule 8(b), and Other Stated Factors Set-Forth” is hereby DENIED.




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                        Signed: August 30, 2005




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